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                                                           TRUSTEE'SDEED

                        IMIS DEED ismade this 16th day cfFebruary,201l by BEALE.DAVD SON.
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                ETRFXINGTON & MOQQV .P.
                                      C..a Virginia corpcratitm, CGrantcr :n&or Substitute
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                      );to OUALITY PROPERTIES ASSET MA
                                                    - NAGEM ENT COMPANY,an lllînois
                corpcration,(ç'GraI1tee''),whose address isc/o MichaelKramer,CommercialORE()Asset
                M anager,Bazk cfAmerlca,N .A.,100 S,Cbarles Strett 3* Floor, Baltimore,M D 21201M ail
                Cpde MD4-325-03-29,and PATW CIA M.KIYGE- Cowner''
                                                                lunwilling party,grantorfor
                indexingpurposes.
                                                           W IT N E S S B '
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                        W HEREAS,by acertain Deed ofTrustdated Nnvember6,2007,recordedintheClerk's

                OfficeoftheCircuitCourtofAlbemarleCoucty,Virginia(thetçclork'sOfIice.
                                                                                    ''
                                                                                     )inDemdBook
                3516at-page,24-43(thcttDeedofTrust''
                                                   ))theOwnercomveyedcertainrealpropert y,together
                witha1limprnvementsthereon and appurtenancesthereuntoasmoreparticularly described intlw
                DrZ,
                   IIofTrustandonExhibitA attachedhtreto(the'Propert/fl,toJ.PageW illiams,Original
                Trusteeintl-usttosecurethepaymentofannt
                                                      e(the'%ote'')in favorofBankofAmcricajN.
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                oftht Propedy in the eventofdefaultin the paymentofsaid indebtednessorin theeventofa
                breachoft
                        lle,ccvenantsandconditionscontRined intheNoteortheDeedofTrust;and

                       W HBREAS.by instrumcnlrecorded ia lheClerk': Om ce on Januazy 4.2011,in Deed
                         îl
                Book 39       at Pages 447-449, Beale, Davilson,Etherington & M orris, P.C,was named
                SubstituteTrustteicacctrdancewiththtttrmsandprovisionstftheDeelofTrustand
                       WHBREAS,SubstituteTrusteewasempowered,upon thefailureoftheOwnertopay the
                debtsecuredby theDeedofTrustinaccordancewiththetermsthereof,to selltbeProperty;and
                       W HEREAS,Ownerfailcd topaythedebtin accordancewith the termsof(heNote and
                the Deed of Trust, ônd the Substitute Trustee,at the requestof Bank,in extcution of the
                provisionsoftheDeed ofTrustAndafterbavingfirstgiven writtennoticeofthe salebycedified
                mail,return receiptrequestedjand by regularfirstclusmail,postage prepaid,to Owncr,and to
                any sqbordlnate lienbol
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                tlesaleasrequircdby Section 55-59oftheCodecfV rginia,asamended,and havi
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                thetime,placeandtermsoftkesaleonJanvary2landJanuary28,20ll,intheDcftpProgren,
                ; newspapqrhaving ageneolcirculation in Albemarle County,Virginia,did offerforsale the
                Propqrty atpublic auction to the highest bidder at the front steps of the Circuit Court cf
                AlbemarleCounty,Virginia,onFebruary 16.2011.at11:00a.m.;
                       W HEREAS,Bank became the purcbaser cf the Property with a credit bid ofFiûeen
                MillionTwcHundred andSixtyThousandDollars($15,260,000.00)suchbidbeingthelastand
                highestbid received and tbereafter assigntd its rlghtto purohase the Property to Grantteyan
                aë liateofBenk;and


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                        NOW ,THEREFORE,in considerationofthecreditbfd ofFit
                                                                          leen M itlion TwaHundred
                 andSixjyThousandDollars($15,260,000.00),thereceiptofwllichisherebyacknowledgcd,the
                 SuàstituteTrtlsteeherebygrants,bargains,sellssconveys,confirmsandreleaseswithSPECIAL
                 WARRANTY OFTJTI,BtbePropeo teOrantee.
                        Thisconveyanceissubjecttûa11cnnditions,testrictions,rights-of-way,easements,and
                 reservations)ifany,ofrtcord,filed andunsled mechanicsand materialmen's liens,ifany,and
                 a11othermatlersofrecordtakingpri
                                                ority overtheDeedofTrust.
                        W ITNESS thefollowingsignatureand seal:


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                                                                     B TRUSTEE;

                                                           BEALB.DAVIDSON,E'ITIERINGTON &
                                                           M ORRIS,P.C.


                                                                 )
                                                           By:W 1(
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                                                                 llam K.Lewis,VlcePresident
                                                                                                          (SEAL)
                 STATE OF VIRQINIA
                 CITY OFRICHM OND,to-wit:
                        1,Amy C,Vaughan,a.Notary Publiç in and forthe City ofRichmond,StateofVirginia,
                  do hereby certify thatW illlam K.Lewis,Vice PresidentofBeale,Davidsnn,Etherington &
                  Merris,P.C,)SubstltuteTrustee.whosename issigned to theIbregoing writing bearfng dateon
                  thet6thda4efFebruary,2û11,hasacknowledgedthesamtbeforemeinmyCityandState
                  afnresRid yhls3*1day ofM arch
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                                                      ExhibitA

                A)lQfthatcertainl0torparcelofland(the4'Propert
                                                             /')lccatedin AlbemarleCounty,Virginia,
                môx particularlydepicteda,
                                         sNrcelcontaining9.
                                                          904acxs,mtreorless(comprisingtheoriginal
                TaxMap 102-35),ParcelG,containing78.99acres,moreorless,ParcelF,containing2.15
                acres,moreorless,and ParcelE,containing 6. 94 acres,mcreorless,allparcelsbeing aportion
                ofNEW T.M .102-35depictedonplatentitled''PlatShowing Redivision ofTM M ap 102 Parcel
                35A Tax M ap 103 Parçel IB and Tax M ap l03 Parcel IE Albemarle Farms Soottsville
                MagiaterialDistrictAlbemarleCounty,Virginia''przparedby GloecknerEngineering/surveying,
                Inc.,dati M ay 16,2003,recorded with a Declaration ofPrivateRoad M aintenance Agreement
                recnrded as corrected in the Om ce of the Clerk of the CircuitCourtzf Albemarle County,
                Virginia(the''Clerk'sOmce'')inDeedBook3117atpages157-175tt
                                                                         lm '
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            AND BEING a portion of the samt property conveyed to Palricia M . Kluge from jW K
            Properties,Inc.,lîDelaware cop omtion by qultclaim deed dated June 12.1990,recorded June
            I8,j990,in the Cîerk' s Office2in Deed Bonk 1105,page 185)AND BEING aportion oftbe
            sameproptrtyconveyedtePatnciaM.Klugefrom KluleEstateWineryandVineyard,L.L.C.,a
            Virginia limited liability company by deed ofdistlibutlcn dated July 8,2005,l'
                                                                                         ecorded July 8,
            200$,intheCltrk'sOflkeinDeedBook3020,page324.

            StreetAddress: 255AlbtmarleHoustDrive,Charlottesville,Virginia22902




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                                                                June3,2011

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ELEG R ONIC M Aq ,fm ike.H a ee bu kôlam erica.com)
M ichaelKrsmer,AssistantVicePresident
Bank ofAmerica
100 Soui CharlesS> t
Baltimore,M e land 21201-2713

       Re:AlbemarleHousePurchaseby TrumpVirginiaAcquisitionsLLC

DearM iohael,

W eunderstandthatyouhaverectivd aGrm offerforAlbemarleHnuse(asdeinedbelow). l
had placed acallto you abouta week ago te discussthepumhase oftltisproperty,bt)thad not
heard anythingback from you.

Letmeremind you tbatthereareceA inspecifed proceduresin therightofIirstrefusaltthe
çtRlgbtofFiutRef- ar'lcroted undertheQuitclaim Deed,datd as ofJune 13,1990 (the
qnstmlmenf'),by and between JW K Properties,Inc and PatriciaM .Kluge,recorded in the
Clerk'sOm ceoftllt CircuitCourtofthe County ofAlbemarle Cotml,Vkginia in Deed Book
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M ap ofAl% rmarle Countyand morepe cularly disciibidintlleInstrument.
As we have dixussed in various correspondence overthe last five months,Trump Virginh
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Right of FkstRefusalb0t1: asthe ownerôfle 216.
                                             68 aore parcelof Iand A nting Albemarle
House.andpursuanltoiheAssignmentûfRightofFirstRtfusaldatodJRMO 27,2011byand
betweenSteartSubotick TmsteeoftheJohnW.Klugt,Jr.Tnlstunde aplvmentdatedAugust
2#,2000,andTmmp,amemorandum ofwhich is= orded intheClerk'sOm ceoi'leCircuit
CourtoftheCounty orAlbem arleCounty,Virginiain D:H Book 3999,Pages66-76.



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CC: JnnathanHaustr(viaeleckoaicmailsjonaO n,h:uxe e ue ansandm vcom)
       Jason D.Oreenblatt
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     n Apr.M        ldTrtlmp swooped into buy thewineryand vineyard.He
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     Trump now owns the frontyard,thedrlveway and thobackyafds
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ho i//-       -businessinsider.coe donald-% mp-kluge-bnnE-of-nm eHca-zoll-;                                                                 8/25/2011
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Augtlst4-20l1



Jason D.Greenblatt.Esqklire
 lilxecutive Vice Presidentand GeneralCotlnsel
'I-rum p O rganization
 725 Fifth Avenue-26'bFloor
New YorkeN Y 10022
ViaU.S.Mail.PostagePre-paidandEmailtoJ-gl'
                                         eelAblattoftztrunzpol-
                                                              g-conn
-l-rum p Virginia Acquisitiolls.LLC
725 Fifth Aventle,26th Floor
New York-NY l0022
Via Certilied M ail-Postage Pre-paid

                    lke:      9.904 acreparcel(PartofTax M ap 102-Parcel35)-AlbemarleCounty.Va.
                                                                                  .

                              t--prolnel4y''l
                              Streetaddress'
                                           .355 Albem arle House Drive,Charlottesville.Va.
                              RightofFirstRefksalclailned by Trum p Virginia Acquisitions.Ll-C
                              t---l-rtll-
                                        1lpzNcquisitions-')
DearM r.G reenblatt:

         'I-hislaw filnm representsQuality PropertiesAssetM anagelnentConnpany(-zouality
I'roperties-*).awhollyownedafflliateofBankofAmerica.N.A.(-*BOA'').QualityPropertiesownstlne
Property rel  krenced above. Itisparttnfa larger.97.9d-acre parcelowned by Quality Propellies.now
known asTax M ap 102.Parcel35(k-'1-M P 102-35--).
        'l-he purposc ofthis letteristo respond to yourIetterdated Febrklary 2.20 11 to Jonathan l-latlser
and 1.
     !ric 'l-runAplsJune 3.20l1 letterto slichaelKranper.

       Theselettersasset-tedthatTrump Acquisitionshasarightol-lsl-streftlsal(-*ROI-R'-)to acquire
1he Property.Theasserted ROFR arisesoutofaQuitclaim Deed.dated June 13.1990 from JW K
Properties.lnc.(--JW K-)to Patricia&1.Kluge(--Kluge-').ThatQuitclaim Deed conveyeda9.904 acre
tractto Kluge and defined thattractasthe iipl'
                                             opelr
                                                 tll.-- Italso det
                                                                 sned anothertractofland,then show n
asPareel35A ontheAlbemarleCounty tax map,asthekiBurdened Land-'e(7-heBurdened Land was
burdened by variouseasemelltsbenefstting theProperty.) The ROFR wasexercisable by Q-thethen
t:tsl
    -rttflttyxA/lAxzb
                    -tàs-tlkk:tstll-
                                   tlkt3lk)tl1-ilyltl-              EXHIBIT

           (1079694-4                                 v;wwBE.ANw.lrqNEèN'.coM 1
                                                              .
                                                                                      J   z
Jason D.G reenblatq Esquire
Re:9.904 acreparcel(PartofTM P 102-35),AlbemarleCountysVa.
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       Therecurrently isno singleowneroftheBurdened Land;ithasmultipleowners. A review of
thechainoftitleto theBurdened Land indicatesthattheBurdened Land isnow owned inpartby three
entities:QualityProperties,TrumpAcquisitionsandTrumpVineyard Estates,LLC.(tt-rnlmp
Vineyard'f).
      Kluge acquired the Property aspartofthe 1990 divorce settlem entwith herlate husband,John
Kluge.AtthattimethePropertywasthesiteofamansion.whichserved msthemanorhouse and
centerpieceofa lOoo-acreestateownedbyanentitycontrolledbyJohnKluge.Theobjectofthe
ROFR w asto give the ownerofthe Burdened Land an opportunity to bring the Property back into the
Iargerestate ifKluge decided to sellthe Property. Thatpum osehasce% ed to existdueto subsequent
subdivisionsofthe Burdened Land.

       Asoftheyear2000,the Burdened Land appearsto have consisted ofthe follow ing parcels.in
whole orin part:N,U ,Y and Z.

      In 2000.JW K re-conveyed ParcelN to John Kluge. He then re-conveyed the land to Patricia
Kluge,TrusteeoftheJohn W .Kluge,Jr.Trust. ParcelN isnow partofTax M ap 102.Parcel35C
CTM P 102-35C'')and isowned byTrumpAcquisitions.
      Also in 2000,JW K re-conveyed ParcelsU and Y to Joim Kluge. He then reconveyed this Iand
to Home and G arden Com pany,LLC .which laterm erged into Kluge Estate W inery and V ineyard.
LLC. Asaresultofthe2005 subdivision,ParcelU and aportion ofParcelY becamepartofTM P l02-
35.which Kluge Estate W inery and V ineyard,LLC deeded to Patricia Kluge,and which is now ow ned
byQualityProperties.AnotherportionofParcelY isnow partofTaxMap 102,Parcel35A CATMP
l02-35A'')and isowned by Trum pVineyard.
       In 2001aJW K conveyed ParcelZ to the University ofVirginia RealEstate Foundationawhich
merged into theU niversity ofVirginia Foundation. In 2004.the University ofV irginia Foundation
conveyed ParcelZ to W illiam M oses and Patricia Kluge. M r.M oses giRed his interestto Patricia
Kluge and she laterdeeded the land to Kluge Estate W inery and V ineyard,LLC. Thisland is now
knownasTaxM apl03.ParcellB (tTMP 103-1B'*)and isownedbyTrumpVineyard.
       Asa resultofthe subdivisions,there isno longera single.large estate forwhich the Property
could serve asa m anorhouse;forexam ple,theBurdened Land isnow partoffourdifferenttax parcels,
one portion ofthe Burdened Land isa vineyard.anotherportion isa golfcourse,and anotherportion is
ownedbyQualityProperties.IftheROFR stillexisted,thereisnosingleowneroftheBurdenedLand
who could enforce the ROFR. The RO FR w ould be unenforceable by som eone w ho ow ned only part
ofthe Burdened Land.


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A ugust4.2011
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       Even ifthe foregoingeventsdid notextinguishthe ROFR.othereventswouldhavedonethis.
'l-heROFR applied so long asKlugewastheownerofthe Property,and also provided thattheROFR
did notapply to -èany conveyance ofthe Property assecurity forany indebtednessofKluge.'' On
Novenaber6-2007.Klugemortgaged TM P 102-35 (whichincltldedtlze Property)to securealoan f-
                                                                                        fom
BOA . A1lhattim e.she ow ned orcontrolled tlle Property alld allplrpertiesw hich lbrm erly constittlted
the Btlrdened Land.

          'I-hatmortgage was foreclosed on February l6,2011-and BOA wastlae high bidderatthe
lbreclosuresale.BOA assigned the rightto aequireTM P l02-35to thecurrentowner-Qtlality
Propedies.Thus-the ROFR hasterm inated because Kluge no longcrow nsthe Property. 'I'1:e RO17R
Jid notapply to the foreclosure sale because 01-the priorsubdivisionsand also because Kluge's rightto
lnortgage the Property im pliesthe rightto convey m ark-etable title to the mortgage lender.

        Yourassenion thatthe ROFR survived the Ibl-     eclosure sale is untenable foran additional
l-eason. Ifthe RO FR did notterm inate when Kluge ceased to ow n the Pl-    operty,there w ould be no
m easuring lilk to lim itthe tim e during which the RO FR could be exercised. This would cause tlle
RIIFIttoviolatetheruleagainstpem etuities. Laket?/'//7t?P'
                                                         '
                                                         ()f?:& .j.
                                                                  vs'
                                                                    n./pc.v.g
                                                                            jtclillgh.238 Va,1.
380S.E-2d 872 (1989)-
        11-the ROf'
                  -R existed atthe date ofthe lbreclosure sale and applied to the sale-then tl
                                                                                             ae ownerof
the RO l7R-s legalrem edy would be linxited to an action in eiectmentagainstQuality Properties.
                                                            -

/'
 ;'
  ftib-     t?l//?/.ï'l,.Riekse.28lVa.44l.707S.E..2d 826 (2011).UnderRieksc.theownero(>the
      tllx t'
Btlrdened Land would llaveno righto1-I'    irstrefbsalasto asubsequentre-saleofthe Propertyby Quality
Propertics.

        Asdiscussed above-there was no ownerofthe RO FR a!the fbreclosure sale date becanse tlle
Burdened Land had been stlbdivided in 2000.and the stlbdivided parcels werethen assigned to
m ultiple ow ners.Thus.to be clear.neitherTrum p Acquisitionsnoranyone else hasany righlofl-irst
refbsalovertheProperty.However.while resel-
                                          vingallrightsinthismatter-Quality llropertieswill
ollkrlh-umpAcquisitions.orasitm ay assignto anotllerentity aftsliated with DonaldJ.Trump.an
opportunityto acquire -I-M P 102-35 on the terms setforth in the rightof-t'
                                                                          irstrefusal. The term sare as
Ibllows:(1)thepurchaseprice is$l5.26m illion (the fbreclostlresalepricel;(2)Trump Acquisitions
m ustprovide w ritten notice ofitsintentto acceplthis oft
                                                        krwithin 15 businessdaysofreceiptofthis
letter-
      .and (3)Trump Acquisitionsnzustagreeto closeonlhe Propertywithin areasonabletime.

       Thisot-
             fcrissubjecttotheadditionalconditionthatalloftheosvnersoftheBurdened Land
Inustconsentto Trtlm p Acquisitions'exerciseofthe RO FR and release any claim sthey m ay have
againslQualityPropeniesarisingoutoftheROl7R-QualityPropertieswouldprovideitsconsentand
release. Trum p Acquisitions Nvould be required to obtaii:such consents and releasesfrom the other


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ow nerofpartofthe Burdened Land,Trum p V ineyard. Asthisentity isTrum p-related.thiscondition
should notpresentan obstacle to Trum p A cquisitions'purchase ofthe Property.

      lfTrumpAcquisitionsdoesnotacceytthesetermssQualityPropertiesdemandsthatTrump
Acquisitionsdelivera release ofthe RO FR,In recordable form ,within 15 days. Ifthatisnotdone,
QualityPropertiesintendstotakeIegalactiontoestablishthattheROFR nolongeraffectsthetitleto
thePropeo .A dl' aûcomplaint,withexhibits,isenclosedforyourreview.QualityPropertiesmayre-
drafttheComplaintsifitlearnsofadditionalfactsrelevantto thiscase.

      Ifyoubelievethereareanyinaccuraciesinthisletter,orinQualityProperties'legalposition,
please letusknow whatthose m ightbe. 1look forwnrd to yourreply.


                                         Respectfully.
                                            h



                                         Raighn    .Del ey


RCD/mh

Enclosure




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